The petition for rehearing in these cases sets forth that "The Court erred in affirming the decree below in so far as it awarded appellee, Tanabe, damages, in the sum of $1982." The court fully determined that the chancellor did not err in assessing damages against Lopez for the lotus bulbs removed from the premises. After a careful examination of the record before us, we were of the opinion then and are now that the chancellor could have found damages for the removal of lotus bulbs in excess of $1982. This court has repeatedly pointed out that findings of the chancellor depending upon the credibility of witnesses and the weight of the evidence are entitled to great weight.
The other points raised in the petition are in effect a reargument of the previously determined questions and the court finds nothing therein to warrant a rehearing of the causes.
Petition for rehearing denied.